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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                          Case No. 21-20321-CR-CMA


  UNITED STATES OF AMERICA,

  vs.

  LEONEL PALATNIK, et al.,

                   Defendants.
                                                      /

                         UNITED STATES’ NOTICE OF RECEIPT OF FUNDS AND
                          SATISFICTION OF FORFEITURE MONEY JUDGMENT

          The United States of America, by and through the undersigned Assistant United States Attorney,

  files this notice, and respectfully states:

          1.       Pursuant to the Judgment of Forfeiture (DE 68), entered by this Court on November 10,

  2021, the United States received wired funds in the amount of $686,590.00. The payment was applied to

  the forfeiture money judgment owed by the defendant.

          2.       In consideration of payment of the funds, the United States hereby deems the forfeiture

  money judgment amount of $686,590.00 as satisfied and paid in full.

                                                          Respectfully submitted,

                                                          JUAN ANTONIO GONZALEZ
                                                          UNITED STATES ATTORNEY

                                                By:       s/G. Raemy Charest-Turken
                                                          _____________________________________
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